       Case 1:24-cv-01109-MHC Document 31 Filed 04/12/24 Page 1 of 4




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
RILEY GAINES, et al.,

      Plaintiffs,
                                           Civil Action No.
v.
                                           1:24-cv-01109-MHC
NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION, et al.,

      Defendants.


 STATE DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS
          & CORPORATE DISCLOSURE STATEMENT

      Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 3.3, Defendants The

Board of Regents of the University System of Georgia, 1 Georgia Institute of

Technology, University of Georgia, University of North Georgia, Angel

Cabrera, Doug Aldridge, Tom Bradbury, Richard “Tim” Evans, W. Allen

Gudenrath, Erin Hames, Barbara Rivera Holmes, Samuel D. Holmes, C.

Thomas Hopkins, Jr., James M. Hull, Cade Joiner, Patrick C. Jones, C.




1 Plaintiffs named “Univ. System of Georgia” and “Georgia Tech” as
Defendants. However, there is no legal entity known as the “Univ. System of
Georgia;” the correct entity is the “Board of Regents of the University System
of Georgia.” In addition, the full name of the entity known as “Georgia Tech”
is the “Georgia Institute of Technology.” And perhaps more importantly, the
University of Georgia, University of North Georgia, and the Georgia Institute
of Technology are not legal entities capable of suing and being sued but are
rather unit institutions of the Board of Regents. Counsel for the parties have
discussed these issues and commit to work in good faith in an attempt to
resolve any issues about proper parties prior to the State Defendants’ filing
responsive of pleadings.
        Case 1:24-cv-01109-MHC Document 31 Filed 04/12/24 Page 2 of 4




Everett Kennedy, III, Sarah-Elizabeth Langford, Rachel B. Little, Lowery

Houston May, Jose R. Perez, Neil L. Pruitt, Jr., Harold Reynolds, Sachin

Shailendra, T. Dallas Smith, Mat Swift, James K. Syfan, III, and Don L.

Waters 2 (collectively, the “State Defendants”) hereby appear specially and

submit their Certificate of Interested Persons and Corporate Disclosure

Statement:

1.    The undersigned counsel of record for a party or proposed
      intervenor to this action certifies that the following is a full and
      complete list of all parties, including proposed intervenors, in
      this action, including any parent corporation and any publicly
      held corporation that owns 10% or more of the stock of a party
      or proposed intervenor.

      None.

2.    The undersigned further certifies that the following is a full
      and complete list of all other persons, associations, firms,
      partnerships, or corporations having either a financial interest
      in or other interest which could be substantially affected by the
      outcome of this case:

      None.

3.    The undersigned further certifies that the following is a full
      and complete list of all persons serving as attorneys, including
      proposed intervenors, in the case:




2 As of the filing of this Certificate, Plaintiffs have only served the
institutional Defendants and Cabrera. Several individual Regent Defendants
listed above agreed to waive service, but many individual Regent
Defendants—specifically, Aldridge, Evans, Gudenrath, Hopkins, Little, May,
Perez, Pruitt, Reynolds, Smith, and Waters—have not yet been served or
agreed to waive service. State Defendants’ counsel therefore appear specially
on behalf of such Defendants while counsel are continuing to work out these
issues.


                                       –2–
        Case 1:24-cv-01109-MHC Document 31 Filed 04/12/24 Page 3 of 4




      For Plaintiffs:

      William Bock III
      Kevin D. Koons
      Bryan P. Tyson
      Thomas C. Rawlings
      Deborah A. Ausburn

      For Defendant NCAA:

      Cari K. Dawson
      Christopher C. Marquardt
      John E. Stephenson, Jr.

      For State Defendants:

      Josh B. Belinfante
      Vincent R. Russo
      Edward A. Bedard
      Anna E. Edmondson

4.    The undersigned further certifies that the following is a full
      and complete list of the citizenship of every individual or entity
      whose citizenship is attributed to a party or proposed
      intervenor on whose behalf this certificate is filed:

      State Defendants are either various governmental entities or State

officials of the State of Georgia. As constituent entities of the State of

Georgia, each governmental entity named as a defendant is a citizen of the

State of Georgia. Each individual defendant is likewise a citizen of the State

of Georgia.

      Respectfully submitted this 12th day of April, 2024.

                                          /s/ Josh B. Belinfante
                                          Josh B. Belinfante     047399
                                          Vincent R. Russo       242628
                                          Edward A. Bedard       926148


                                       –3–
Case 1:24-cv-01109-MHC Document 31 Filed 04/12/24 Page 4 of 4




                               Anna E. Edmondson       289667
                               ROBBINS ALLOY BELINFANTE
                                  LITTLEFIELD, LLC
                               500 14th St. NW
                               Atlanta, GA 30318
                               T: 678-701-9381
                               E: jbelinfante@robbinsfirm.com
                                  vrusso@robbinsfirm.com
                                  ebedard@robbinsfirm.com
                                  aedmondson@robbinsfirm.com

                               Counsel for State Defendants




                            –4–
